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                   IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                           FAYETTEVILLE DIVISION

MARK FOCHTMAN and SHANE O’NEAL,
individually and on behalf of all others
similarly situated                                                        PLAINTIFFS

      v.                    CASE NO. 5:17-cv-05228-TLB

CAAIR, INC., SIMMONS FOODS, INC.,
DARP, INC., HENDREN PLASTICS, INC.,
and JOHN DOES 1-30                                                     DEFENDANTS


PLAINTIFFS’ REPLY TO SIMMONS FOODS, INC.’S RESPONSE TO PLAINTIFFS’
  EMERGENCY MOTION FOR EXPEDITED JURISDICTIONAL DISCOVERY
               AND INCORPORATED BRIEF IN SUPPORT


      Simmons Foods, Inc. opens its response with a misrepresentation that is as

inaccurate and unreliable as the remainder of its argument. Simmons claims that it

“offered to provide Plaintiffs limited information specifically relevant to CAFA

jurisdiction.” (Simmons’ Resp. [Doc. 17] at *1). This is a fraud on the Court. Simmons

conditioned providing information on Plaintiffs agreeing to a lengthy extension to

respond to the Complaint, and closed negotiations stating, “thanks for the dialogue but

we can’t comply with this request.” See (Corres. [Doc. 12-1]). Although Simmons decided

to provide some responsive information after Plaintiffs’ filed their motion for

jurisdictional discovery, Simmons continues to refuse to produce the information

necessary to assess the Court’s subject matter jurisdiction under CAFA. Plaintiffs need,

and should be provided with, (a) the agreement between CAAIR and Simmons, which

will likely show how payments from Simmons to CAAIR are computed (e.g., hourly


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rates, any premium for overtime hours, how hours are tracked); (b) any other document

that explains how Simmons compensates CAAIR, which may also show hourly rates,

premium for overtime hours, and how hours are tracked; and (c) a description of how

Simmons paid CAAIR for labor, including the hourly rate and how hours are tracked.

      Regardless, Simmons continues to object to providing important information

about how the payments it made to CAAIR were computed, which is critical to the

jurisdictional issue. Although Simmons states that it paid over $3.6 million to CAAIR

during the past three years, it also claims that the payments were calculated based on “an

agreed hourly rate that was greater than state and federal minimum wage, plus time and

a half for overtime hours worked.” (Seal Dec. [Doc. 17-1] ¶ 3). Simmons response

demonstrates why the information is relevant – if Simmons paid more than the minimum

wage to CAAIR, the amount of back pay in controversy is likely far less than $3.6 million.

For example, if Simmons paid CAAIR an average hourly rate of $15.00 per hour, then

Simmons paid for approximately 240,000 hours of labor. ($3.6 million ÷ $15.00 per hour

equals 240,000 hours). The average minimum wage in Arkansas during that time was

$8.00, which would reduce the back pay in controversy to approximately $1,920,000.00.

(240,000 hours x $8.00 per hour equals $1,920,000.00). If CAAIR’s residents regularly

worked overtime at Simmons, the amount in controversy would likely be lower because

there would be fewer hours worked.

      Simmons claims it based its removal on Plaintiffs’ allegation in the Complaint that:

“Members of the putative classes are so numerous that joinder of all members is

impracticable. The exact size of the putative classes is unknown, but may be

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determined from records maintained by Defendants. CAAIR and DARP each employed

hundreds of individuals who worked for employers in Arkansas. Former employees are

also included as putative class members.” (Compl. [Doc. 8] ¶ 69) (emphasis added).

Plaintiffs’ allegation cannot be the basis for any nonspeculative calculation about the

amount in controversy.

        Simmons must show, by a preponderance of the evidence, that the amount in

controversy exceeds $5,000,000.00, exclusive of interest and costs. Waters v. Ferrara Candy

Co., 873 F.3d 633 (8th Cir. 2017). Simmons cannot make that showing solely based on the

allegations in the complaint. Simmons faulty logic is shown by comparing its own

calculations in the Notice of Removal with what its records actually show. Simmons

initially claimed that the amount in controversy was approximately $3,000,000.00 per

year, or around $9,000,000.00 in unliquidated back wages. See (Notice of Removal [Doc. 1]

at ¶ 19). Yet its own records show that it only paid $3,600,000.00 to CAAIR’s Arkansas

residents, and it claims to have paid CAAIR more than Arkansas and Federal minimum

wage.

        Simmons raises frivolous objections to producing its agreement with CAAIR or

providing a meaningful explanation of how it computed the payments that it made to

CAAIR. First, Simmons claims that the information is irrelevant to the CAFA threshold

inquiry. (Simmons Resp. to RFP [Doc, 17-2] Nos. 1, 3). But as discussed above, the

information is highly relevant. Moreover, even if not directly relevant, the information

would be helpful to understand the spreadsheets that Simmons provided.



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       Simmons also claims that explaining how it paid CAAIR is “outside the scope of

discovery permitted under Rule 26(b()1) [sic],” and “the burden and expense for

Simmons to search further at this time is disproportional to the needs of the case at this

time.” (Simmons Resp. to Interrog. [Doc. 17-2] No. 3). The information sought in this

interrogatory, however, is likely contained in the agreement and other documents

explaining how Simmons compensated CAAIR. Given the allegations in the Complaint,

it would strain credulity to believe that Simmons had not already done whatever research

is necessary to figure out how it paid CAAIR and already pulled its agreements. There is

little burden on Simmons to produce the documents and provide the requested

information, which is critical to all the issues in the case, including whether this Court

has jurisdiction.

       Records ― not speculation ― are what is needed for the Court and the parties to

assess whether this Court has the power to hear the case. Federal courts are courts of

limited jurisdiction and only possess the power authorized by the Constitution and

Congress. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377, 114 S. Ct. 1673, 1675

(1994). To have jurisdiction here, the Court must find based on a preponderance of the

evidence that the amount in controversy is at least $5,000,000.00, exclusive of interest and

costs, without resort “to conjecture, speculation, or star gazing.” Waters v. Ferrara Candy

Co., 873 F.3d 633 (8th Cir. 2017) (quoting Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744,

754 (11th Cir. 2010)).

       Although Plaintiffs seek the maximum recovery allowed under the law, the

information about how much a factfinder could legally award assuming Plaintiffs’ win is

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in the possession of the Defendants. It cannot be calculated by assuming that 200

individuals worked 40 hours a week, 52 weeks per year, for a three-year period.1 When

forced to provide some support for its speculative calculation, Simmons reduced its

estimate of the back pay that a fact finder could legally award by over half, from

$9,000,000.00 to approximately $3,600,000.00. Compare Notice of Removal [Doc. 1] at ¶ 19,

with Seal Declaration ¶ 3. And Simmons persists in refusing to provide additional

information, which might show the amount of back pay in controversy from Simmons is

less than $2,000,000.00. If the back pay at issue from Simmons is less than $2,000,000.00,

it would be difficult for the amount in controversy to exceed $5,000,000.00, exclusive of

interest and costs.2

        Simmons has the records needed for the Court and parties to assess whether this

Court has jurisdiction. Simmons chose to invoke CAFA jurisdiction but did not present

information supporting jurisdiction when it removed the case, and still refuses to provide

Plaintiffs with relevant information on the topic. Moreover, the information Simmons has

produced so far establishes that the amount in controversy is a fraction of what it

previously suggested to the Court. The Court should grant Plaintiffs’ motion, and order

Simmons to respond in full to Plaintiffs’ jurisdictional discovery requests.




1 With hundreds of class members, there might only be 25-30 working at any given time
in Arkansas. Some class members may have only resided in CAAIR or DARP for a period
of months.
2
  Plaintiffs intend to seek the same information from Hendren Plastics, Inc., which entered
its appearance in the case yesterday afternoon.
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                                 Respectfully Submitted,


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                            CERTIFICATE OF SERVICE

       I, Timothy A. Steadman, hereby certify that a true and correct copy of the
foregoing document was served via CM/ECF on November 10, 2017, which will send
notice to all counsel of record.

      A copy was also sent by U.S. Mail to:

      CAAIR, Inc.
      c/o Donald Wilkerson, Registered Agent
      40152 South 700 Road
      Jay, Oklahoma 74346

      DAPR, Inc.
      c/o Raymond Jones, Registered Agent
      1409 Beecher Street
      Fort Gibson, Oklahoma 74434



                                        By:      /s/ John Holleman
                                                John Holleman




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